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                        THE WESTERN DISTRICT OF TEXAS
                                                                                     JUN   01   20t5
                                                                            CLERK
                            SAN ANTONIO DIVISION                            WESrEND DSTR1,
                                                                                    I
                                                                                           COURr
                                                                                          F TEXAS
                                                                           ev
 CLARENCE LEE, SR. and                         §
 ANGELIA LEE both                              §
 indIvidually and as next                      §
 friends of C.L., a minor                      §
                                               §
                 Plaintiffs                    §
                                               §
                  vs.                          §      No. 5:08-C V-00531-OLG
                                               §
 UNITED STATES OF                              §
 AMERICA                                       §
                                               §
                Defendant                      §
                                               §




                                  FINAL JUDGMENT

       Upon remand from the United States Court of Appeals for the Fifth Circuit,

having considered the submissions of the parties and the entire record, and in accordance

with the Court's findings of fact and conclusions of law, the Court enters this final

judgment as follows:

       It is ORDERED that final judgment is entered in favor of the Plaintiffs against the

United States in the amount of $5,113,523 and in the amount of $25,229 in taxable costs.

       It is FURTHER ORDERED that Plaintiffs recover post judgment interest on these

amounts, from the date of filing of the transcript of the judgment with the Secretary of the

Treasury through the day before the mandate of affirmance. Such interest shall be

calculated at a rate equal to the weekly average 1 -year constant maturity Treasury yield,
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as published by the Board of Governors of the Federal Reserve System, for the calendar

week preceding the date of this judgment.' 28 U.S.C.             §   1961(a).

           It is FURTHER ORDERED that Plaintiffs' Application to Establish the "C.L.

Special Needs Trust" (Document 136-4) is GRANTED.

           It is FURTHER ORDERED that Plaintiffs' Application to Establish the "C.L.

Reversionary Trust" (Document 136-5) is GRANTED.

           It is FURTHER ORDERED that First Capital Surety and Trust Company is

hereby appointed Trustee of the following two trusts:

          i.      "C.L. Reversionary Trust";2 and

         ii.      "C.L. Special Needs Trust."3

               It is FURTHER ORDERED that Trustee First Capital Surety and Trust Company

shall retain separate segregated accounts for the above trusts and shall not co-mingle the

monies and any interests or dividends, with any other funds or assets, including any other

funds or assets of Plaintiff C.L.

               It is FURTHER ORDERED that within 90 days of this Order, the United States

 shall deposit into the IOLTA Trust Account of Archuleta & Associates, P.C., for

 disbursement as follows:

                      1.   $1,666,066.53 to be paid as up-front cash;

                              frt1
     As of the week ending                  2015, the applicable interest rate is .SL5 percent per annum. See
     http :/!www. federalreserve.gov!releases!h 15/current!.
 2
     The trust document is attached as Exhibit A to this judgment (previously filed as Exhibit A to Document
     136-5).

 '
     The trust document is attached as Exhibit B to this judgment (previously filed as Exhibit A to Document
     136-4).




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               2. The remainder of the judgment ($3,472,685.47) should be paid into the

                   "C.L. Reversionary Trust."

         It is FURTHER ORDERED that the Trustee, First Capital Surety and Trust

Company, upon immediate receipt of funds into the "C.L. Reversionary Trust," shall

make the first periodic payment in the amount of $1,014,201.21 from the "C.L.

Reversionary Trust" to the "C.L. Special Needs Trust," which represents the net future

care payments from 2010, the date of trial, to present, and the non-economic harms

suffered by Plaintiff C.L.

         It is FURTHER ORDERED that the Trustee, First Capital Surety and Trust

Company, shall make periodic payments from the "C.L. Reversionary Trust" into the

"C.L. Special Needs Trust" every month until C.L.'s death or the corpus of the "C.L.

Reversionary Trust" depletes, whichever should occur first. The periodic payments

should track Schedule B of the "C.L. Reversionary Trust" attached as Exhibit A to this

judgment.

         It is FURTHER ORDERED that Trustee, First Capital Surety and Trust Company,

shall have no power or authority to deviate from the monthly periodic schedule stated

above.

         It is FURTHER ORDERED that Trustee, First Capital Surety and Trust Company,

shall make no payments from the "C.L. Reversionary Trust," except those periodic

payments stated above regardless of Plaintiff C.L.'s medical or other needs, and trustee

fees. Trustee First Capital Surety and Trust Company shall be entitled to receive said fees

based on the trust corpus in accordance with its published fee schedule in effect when

services are rendered.



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       It is FURTHER ORDERED that Trustee, First Capital Surety and Trust Company,

has the power to make payments from the "C.L. Special Needs Trust," in accordance with

the trust document attached to this order for the benefit of C.L. and to pay reasonable and

necessary trustee fees.

           It is FURTHER ORDERED that, in the event funds remain in the trust corpus of

the "C.L. Reversionary Trust" at the death of C.L., the Trustee shall pay the entire

balance of the "C.L. Reversionary Trust" corpus to the United States of America. The

payment shall be made payable to the United States Treasury, tbo Clarence Lee, et al.,

and mailed to the following address, or upon written notice, any subsequent change of

address: Director, Torts Branch (FTCA Staff), Civil Division, United States Department

of Justice, P.O. Box 888, Benjamin Franklin Station, Washington, D.C. 20044.

           It is FURTHER ORDERED that, in the event funds remain in the trust corpus of

the "C,L. Special Needs Trust," at the death of C.L., the corpus should not revert to the

United States, but instead be disbursed in accordance with Texas state law on wills and

estates.                                    44

           SIGNED AND ENTERED on the       Wday ofMaich, 2015.

                                                                        L
                                              ORLANDO L. GARCIA
                                              UNITED STATES DISTRICT JUDGE




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                       Exhibit         A
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      NOTICE: THE BENEFICIARY AND CERTAIN PERSONS INTERESTED IN
      THE WELFARE OF THE BENEFICIARY MAY HAVE REMEDIES UNDER
      SECTION 114.008 OR 142.005 OF THE TEXAS PROPERTY CODE.


                                            EXHIBIT A

                                      TRUST AGREEMENT

                                             FOR THE

                                 CL. REVERSIONARY TRUST

        This Trust Agreement is established as recommended by Clarence Lee, Sr. and Angelia

Lee, as next friends of C.L. (as defined herein), a minor and an incapacitated person as defined in

Section 142.007 of the Texas Property Code, to the Court in litigation pending in the United States

District Court for the Western District of Texas, San Antonio Division (the "Court"), in Civil

Action No. 5:08-CV-00531-OLG styled, Clarence Lee, Sr. and Angelia Lee, both individually

and as next friends of C.L., a minor; Plaintiff vs. United States       of America,   Defendant (the

"Lawsuit"). C.L. was born on May 13, 2003. C.L. is a minor and an incapacitated person as

defined in Section 142.007 of the Texas Property Code, and C.L. is a disabled person as defined

in the Social Security Act, Section 16 14(a)(3), 42 United States Code Section 1 382C(a)(3). The

Court has specifically reviewed and approved this trust pursuant to the Decree of Court Establishing

the C.L. Reversionary Trust to which this Trust Agreement is attached. This Trust Agreement is

intended to comply with the requirements of a special needs trust pursuant to the provisions of

42 United States Code Section l396p(d)(4)(A), as amended August 10, 1993, by the Revenue

Reconciliation Act of 1993, Pub. L. 103-55, and shall be construed in accordance with such intent.

First Capital Surety & Trust Company (hereinafter referred to as the "Trustee"), a financial




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 institution (as defined by Section 201.101, Texas Finance Code), shall serve as the initial Trustee

of this trust.

                                            ARTICLE I.

                                            Trust Estate

        The assets and properties described on Schedule A, attached to and incorporated by
reference into this Trust Agreement, which are being paid pursuant to the judgment entered by the
Court in the Lawsuit are hereby transferred and assigned unto the Trustee by the Court to be held,
invested, administered, and distributed by the Trustee for the benefit of the Beneficiary (as defined
herein) under the terms, provisions, conditions, and limitations set forth in this Trust Agreement.
The funds shall at no time become available to the Beneflciar be placed in his possession, or come
within the control of his guardians, except as otherwise provided herein.

                                           ARTICLE II.

                                            Irrevocable

       This trust shall be irrevocable and shall not be subject to revocation by the Beneficiary or a
guardian of the Beneficiary's estate.

                                          ARTICLE III.

                                   Identification of Beneficiary
        The beneficiary of this trust is Clarence Lee, Jr. (herein sometimes referred to as "CL."
and/or the "Beneficiary").

                                          ARTICLE IV.

                                  Distributions and Termination

        A.     Distributions. During the existence of the trust, the Trustee shall make the
following distributions:

                1.      Upon receipt of the assets and properties described on Schedule A, the
        Trustee shall distribute $ $1,014,201.21          to the Trustee of the C.L. Special Needs
        Trust. In addition, the Trustee shall distribute monthly payments, to the extent that there
        are funds remaining in this trust, in accordance with the schedule set forth on Schedule B,
        attached to and incorporated by reference into this Trust Agrcement, to the Trustee of the
        C.L. Special Needs Trust. The C.L. Special Needs Trust is a special needs trust created
        by the Court on even date herewith for the sole benefit of the Beneficiary. The
        distributions from this trust to the Trustee of the C.L. Special Needs Trust shall be held,


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       invested, administered, and distributed by the Trustee for the Beneficiary pursuant to the
       terms, provisions, conditions, and limitations set forth in the Trust Agreement for the
       C.L. Special Needs Trust. No other distributions of income or principal shall be made
       from this trust at any time, regardless of the needs of the Beneficiary Any undistributed
       income shall be accumulated and added to the corpus of this trust.

               2.       The express purpose of this trust is to provide periodic distributions to the
       Trustee of the C.L. Special Needs Trust to be used for the Beneficiary's extra and
       supplemental needs, over and above the benefits he otherwise receives as a result of his
       handicap or disability from any local, state, or federal governmental source or from
       private agencies, any of which provide services or benefits to disabled persons. The
       Trustee of the C.L. Special Needs Trust has complete discretion to pay or use so much or
       all of the distributions it receives from this trust as such Trustee, in its sole discretion,
       may determine to be in the best interests of the Beneficiary. It is the intention of the
       Court and the parties hereto to provide benefits for the Beneficiary without interfering
       with or reducing the benefits he would be entitled to receive from any state or federal
       agency, including the State of Texas Health and Human Services Conunission or its
       successor agencies and the United States Social Security Administration, and to
       maximize the benefits available to him. This trust is explicitly intended not to be a basic
       support trust, and the trust distributions provided herein are intended to be used by the
       Trustee of the C.L. Special Needs Trust to supplement other benefits that the Beneficiary
       might be entitled to receive.

        B.      Termination of Trust. The trust shall terminate upon the death of the Beneficiary.
Upon termination of the trust, to the extent required by applicable law, the Trustee shall
distribute the remaining trust assets to the State of Texas or such other state that provides
Medicaid benefits to the Beneficiary up to an amount equal to the total medical assistance paid
on behalf of the Beneficiary under the Medicaid plan of each state that furnished medical
assistance on behalf of the Beneficiary; provided, however, that if any assets remain in the C.L.
Special Needs Trust upon the death of the Beneficiary, then the assets remaining in the C.L.
Special Needs Trust shall be used to make the reimbursement payments to the state's Medicaid
plan before the Trustee makes any distributions from this trust for such reimbursement payments
to the state's Medicaid plan. If any assets remain in this trust after making the reimbursement
payments to the state's Medicaid plan in accordance with the preceding sentence, then the
Trustee shall distribute the remaining trust assets to the United States of America by check made
payable to the United States Treasury. Unless directed otherwise by the Department of Justice,
the Trustee shall mail the check to:

              Director, Torts Branch (FTCA Staff)
              Civil Division, United States Department of Justice
              P.O. Box 888
              Benjamin Franklin Station
              Washington, DC 20044




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Upon making the final distribution to the United States of America, the Trust shall be
deemed terminated and the Trustee shall immediately close the account.

                                           ARTICLE V.

                                              Trustee

     A.   Appointment. The initial Trustee of the trust shall be FIRST CAPITAL SURETY
& TRUST COMPANY.

       All references in this Trust Agreement to "Trustee" shall refer to the Trustee then serving
as such.

         B.     Successor Trustee. If at any time there is a vacancy in the position of Trustee, the
Court shall appoint a substitute or successor Trustee. A successor Trustee may be any financial
institution (as defined by Section 201.101, Texas Finance Code) that has trust powers and exists
and does business under the laws of the State of Texas or another state in the United States.

       C.       Trustee Reorganization. Any corporation that shall succeed (by purchase, merger,
consolidation, or otherwise) to all or the greater part of the assets of any corporate Trustee shall
succeed to all the rights, duties, and powers of such corporate Trustee, as Trustee of this trust.

       D.       Resignation of Trustee. A Trustee may resign upon application to and order of the
Court. Upon filing an application to resign, the Trustee shall immediately provide a copy of the
application to (i) the Beneficiary, or if the Beneficiary is a minor or incapacitated person, to the
Beneficiary's legal guardian or other legal representative, and (ii) the United States of America at
the address provided hereinabove or as otherwise directed by the Department of Justice. The
Trustee shall continue serving until its resignation is approved by the Court and a successor
Trustee is appointed by the Court.

                                          ARTICLE VI.

                                     General Trust Provisions

        A.      Compensation. The Trustee shall be entitled to receive fair and reasonable
compensation for services as Trustee to be paid from the trust's income, corpus, or both on
application to and approval of the Court; provided, however, that the Trustee's compensation
shall not exceed the Trustee's regularly published fee schedule for such services (the Trustee's
current regularly published fee schedule is attached to this Trust Agreement as Schedule C). The
Court hereby prospectively approves the Trustee's fees for as long as such fees do not exceed the
Trustee's regularly published fee schedule; provided that the Court may review any future
Trustee's fees at any time and from time to time on the Court's own motion or upon the motion
of the Trustee or any other party interested in the welfare of the Beneficiary, and upon a hearing
of the matter, the Court shall take any action with respect to such fees as the Court may deem



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appropriate. The Trustee shall also be reimbursed for all reasonable expenses incurred in
connection with the administration of the trust.

        B.     Bond. No bond or any other security shall be required of any Trustee.

        C.     Liabilities. This Trust Agreement shall always be construed in favor of the
validity of any act or omission of any Trustee, and a Trustee shall not be liable for any act or
omission except in the case of negligence, bad faith, or fraud. This trust is established pursuant to
Court order, and the Trustee shall not be responsible or liable to the Beneficiary or to any other
person on account of any action that the Trustee may take (or elect to forego taking) in the
Trustee's good faith reliance on any order of the Court.

       D.       Accountings. The Trustee shall furnish an annual accounting to the Beneficiary, or
if the Beneficiary is a minor or incapacitated person, to the Beneficiary's legal guardian or other
legal representative, and/or the United States of America (at the address provided hereinabove or
as otherwise directed by the Department of Justice) upon reasonable demand made therefor. If
and to the extent required by the Court or a successor Trustee, an accounting for the
administration of the trust shall also be given to the successor Trustee. A successor Trustee shall
be fully protected in relying upon such accounting and also in not requiring such an accounting
from its predecessor. Subject to any additional requirements imposed by the Court, the Trustee's
usual computer statements shall suffice for any accounting.

         E.      Spendthrift Provision. The Beneficiary shall not have the power to anticipate,
encumber, or transfer his interest in the income or corpus of this trust in any manner. No part of
the income or corpus of this trust shall be liable for or charged with any debts, contracts,
liabilities, or torts of the Beneficiary or subject to any divorce proceeding or seizure or other
process by any creditor of the Beneficiary.

       F.      Situs of Trusts. This trust shall be deemed a Texas trust and shall be governed by
the laws of Texas.

        G.      Powers and Duties of Successor Trustee. Subject to any order of the Court, upon
the appointment and qualification of any successor Trustee, the same duties shall devolve on and
the same rights, powers, authorities, privileges, and discretions shall inure to the successor
Trustee as to the initial Trustee, and no successor Trustee shall have any duty, responsibility,
obligation, or liability whatsoever for the acts, defaults, or omissions of any predecessor Trustee.

       H.      Fiduciary Obligation. The broad powers herein conferred upon the Trustee shall
always be exercised only in a fiduciary capacity, and nothing herein shall be construed to limit
the fiduciary obligation of the Trustee.




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                                          ARTICLE VII.

                                         Powers of Trustee

        The Trustee shall have all of the rights, powers, and privileges granted to a trustee by the
Texas Trust Code and all of the following rights, powers, and privileges, unless specifically
limited by other provisions of this Trust Agreement:

         A.      Partitions, Distributions. The Trustee shall have full power and authority to make
all partitions, divisions, and distributions under this Trust Agreement, by allocating assets and
property proportionately in kind or by allocating undivided interests therein in kind. Any
partition, division, or distribution made by the Trustee in good faith shall be binding and
conclusive on all interested parties.

        B.     Conservation of Trust Properties. The Trustee may hold, manage and conserve
any and all properties transferred to the trust and may take any action that the Trustee may deem
necessary or appropriate, including the exercise of all rights and powers that a prudent owner
would exercise in managing and conserving properties of a like kind.

        C.      Dealings With Third Parties. The Trustee may deal with any person or entity
regardless of any relationship or identity of any Trustee to or with that person or entity and may
hold or invest all or any part of the trust assets in common or undivided interests with that person
or entity. Sections 113.052 through 113.055 of the Texas Trust Code shall not apply to the trust
except to the extent they cannot be waived.

        D.      Investment in Securities. The Trustee may buy, sell, or trade any security of any
nature (including common trust funds, stocks, stock rights, warrants, bonds, debentures, notes,
certificates of interest, certificates of indebtedness, and options) or any other things of value
issued by any person, firm, association, trust, corporation, or body politic whatsoever.

        E.      Selection and Retention of Investments. Any property acquired by the Trustee and
at any time constituting any part of the trust shall be deemed a proper investment, and the Trustee
shall be under no obligation to dispose of or convert such property. Investments need not be
diversified, may be of a wasting nature, and may be made or retained with a view to possible
increase in value. The Trustee may invest all funds available for investment at any time that the
Trustee may deem advisable in such investments as the Trustee may be permitted to make
pursuant to the terms of this Trust Agreement. The Trustee, unless otherwise herein specifically
prohibited, shall have as wide a latitude in the selection, retention and making of investments as
an individual would have in retaining or investing his or her own funds and shall not be limited
to nor bound or governed by any statute or regulation respecting investments.

        F.      Holding Title to Investments. The Trustee may hold title to investments in the
name of the Trustee or a nominee. If the trust owns assets located in a jurisdiction in which the
Trustee cannot be authorized to act, then the Trustee may appoint any national bank authorized to
act in such jurisdiction as trustee of such assets and confer on such trustee any power as may be



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 necessary in the premises, but, in any event, such trustee shall account for all net income andlor
 net proceeds from the sale of such assets to the Trustee acting hereunder.

        G.      General Powers. The Trustee may sell, exchange, alter, mortgage, pledge, or
otherwise dispose of trust property; borrow any sum believed by the Trustee to be necessary or
desirable for protecting the trust or any part thereof, making any income or corpus payment or
distribution, or for any other purpose which in the Trustee's opinion may be appropriate; pay all
reasonable expenses; execute obligations, negotiable and nonnegotiable; join in, by deposit,
pledge, or otherwise, any plan of reorganization or readjustment of any investments of the trust,
and vest in a protective committee or other legal entity such power as in the Trustee's opinion
may be desirable; and sell for cash and/or credit all or any part of the trust estate.

       H.     Power to Vote Stock. The Trustee may vote shares of stock in person or by proxy,
with or without power of substitution; exercise and perform any and all rights, privileges, and
powers inuring to the holder of any stock or security comprising at any time a part of the trust,
and exercise by agent or attorney-in-fact any right appurtenant to any property or matter in which
the trust may be interested.

         I.      Protection of the Trust Estate. The Trustee may protect, perfect and defend the
title to any trust property; sue and be sued; enforce any bonds, mortgages or other obligations or
liens owned by the trust; compromise, arbitrate, or otherwise adjust claims in favor of or against
the trust; waive or release rights of any kind; and abandon any property considered by the
Trustee to be worthless.

       J.      Notes, Mortgages, and Foreclosures. The Trustee may, at any time, reduce the rate
of interest payable on any bond, note, or other security owned by the trust; continue mortgages
upon and after maturity, with or without renewal, or extend the same upon such terms as seem
advisable to the Trustee without reference to the value of the security at the time of such
continuance; modify or release any guaranty or mortgage; as an incident to collection of any
bond or note, foreclose and bid in the property at foreclosure sale, acquire the property by deed
from the mortgagor or obligor without foreclosure and retain the property so bid in or taken over
without foreclosure.

       K.     Insurance. The Trustee may carry such insurance coverage (in stock companies or
in mutual companies), including public liability and property damage for such hazards and in
such amounts as the Trustee may deem advisable.

       L.      Employ and Compensate Agents and Representatives. The Trustee may employ
and compensate agents and other employees, including attorneys, accountants, and investment
advisers, and may delegate to them any and all discretions and powers. The Trustee shall not be
liable for any act or omission of an agent if the agent was selected and retained by the Trustee
with due care and the Trustee neither knew nor should have known that the agent or
representative was breaching his or her duties.




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         M.      Establish and Maintain Reserves. Out of rents, profits, or other income received,
 the Trustee may set up reserves for taxes, assessments, insurance premiums, repairs,
 improvements, depletion, depreciation, obsolescence, and general maintenance of buildings or
 other property.

        N.     Power to Determine Income and Corpus. Stock dividends and capital gains shall
be treated as corpus. Except as herein otherwise specifically provided, the Trustee shall
determine the manner in which expenses are to be borne and receipts credited between corpus
and income and what shall constitute income, net income, and corpus. In determining such
matters, the Trustee may give consideration to, but shall not be bound by, the provisions of the
Texas Trust Code.

        0.      Liability of Third Party. No purchaser at any sale made by the Trustee or person
dealing with the Trustee is obliged to see to the application of any money or property paid or
delivered to the Trustee or to inquire into the expediency or propriety of, or the authority of the
Trustee to enter into and consummate, any transaction.

        P.     Documents. The Trustee may execute and deliver any deeds, conveyances,
assignments, leases, contracts, stock or security transfer powers, or any other written instrument
of any character appropriate to any of the powers or duties herein conferred upon the Trustee.

        Q.      Powers Cumulative. Except as herein otherwise provided, the powers conferred
upon the Trustee shall not be construed as a limitation of any authority conferred by law, but as
in addition thereto.

                                          ARTICLE VIII.

                                Definitions and General Provisions

       A.     Statutory References. All statutory references include subsequent amendments
and corresponding provisions of any subsequently enacted laws.

        B.     Precedence of Trust. This trust shall take precedence over any existing law or
statute concerning minors, incapacitated persons, or their property, and this trust shall continue in
full force and effect until tenriinated or revoked as provided herein, notwithstanding the
appointment of a guardian of the estate of the Beneficiary, or the attainment of the age of
majority by the Beneficiary.

        C.     Binding Effect. This Trust Agreement shall extend to and be binding upon the
heirs, executors, administrators, legal representatives, and successors of the parties.

       D.     Inception of Trust. This trust shall become effective upon (1) the entry of the
decree to which this Trust Agreement is attached, (2) the transfer of any portion of the property
described on Schedule A to the Trustee, and (3) the Trustee's acceptance of the trust which shall
be evidenced by the signature below of the appropriate officer of the Trustee.



EXHIBIT A                                                                              Page 8 of 13
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       SIGNED this          day of                        ,&t4.



                                              JUDGE PRESIDING



       First Capital Surety & Trust Company, Trustee, accepts the trust created by this Trust

Agreement, and covenants to faithfully discharge all duties of the Trustee hereunder.

                                              FIRST CAPITAL SURETY & TRUST COMPANY


                                              By:
                                              Name: Chris Foregger
                                              Title: Trust Officer




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STATE OF WISCONSIN

COUNTY OF MILWAUKEE

        BEFORE ME, the undersigned authority, on this day personally appeared CHRIS
FOREGGER, known to me to be the person and officer whose name is subscribed to the foregoing
Trust Agreement and acknowledged to me that the same was the act of the said FIRST CAPITAL
SURETY & TRUST COMPANY, and that he executed the same as the act of FIRST CAPITAL
SURETY & TRUST COMPANY for the purposes and consideration therein expressed and in the
capacity therein stated.

      GIVEN UNDER MY HAND AND                   SEAL OF       OFFICE     this           day of
       ___________,2014.


                                          Notary Public in and for the State of Wisconsin

       [SEAL]




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                                       SCHEDULE A

                                          TO THE

                               C.L. REVERSIONARY TRUST


Initial Assets:   Cash in the amount of        $3,472,685.47      within the meaning   of Section
                  I 04(a)(2) of the Internal Revenue Code of 1986, as amendecL




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                                                         Schedule B

                 Payment Payment                                      Annual        Monthly
                 Year'              Month?    YEAR         AGE Payment   Payment'
                                                (1)         (2)      (3)         (4)
                                                     1            6      $81J53
                                                    2         7           $82,775
                                                    3         8           $83,810
                                                    4         9           $84,857
                              1        1-12         5        10           $87,130         $7,261
                            2         13-24         6        11          $88,219         $7,352
                            3         25-36         7        12          $93,097         $7,758
                            4         37-48         6        13          $94,260         $7,855
                            5         49-60         9        14          595,439         57,953
                            8        61-72       10          15          $96,632         $8,053
                            7        73-84       11          16          $97,840         $8,153
                           8          85-96      12          17          $99,063         $8,255
                          9          97-108      13          18          $98,505         $8,209
                         10         109-120      14          19          $99,736         $8,311
                         11         121-132      15          20         $100,983         $8,415
                         12         133-144     16           21          $99,227         $8,269
                         13         145-156      17         22          $100,468         $8,372
                         14         157-168     18          23          $101,724        $8,477
                         15         169-180     19          24         $102,995         $8,583
                         16         181-192     20          25         $102,823         $8,569
                         17         193-204     21          26         5104,108         $8,676
                         18        205-216      22          27         5563,094        $46,925
                         19        217-228      23          26         $109,531         $9,126
                         20        229-240      24          29         5110,900         $9,242
                         21        241-252      25          30         $112,286         $9,357
                         22        253-264      28          31         $113,690         $9,474
                         23        265-276      27          32         $115,111         $9,593
                         24        277-268      28          33         $116,550         $9,713
                         25        289-300      29          34         $118,007         $9,834
                       26          301-312      30          35         $119,482         $9,957
                       27          313-324      31          36         $120,976       $10,081
                       26          325-336      32          37         $122,488       $10,207
                       29          337-348     33           36         $124,019       $10,335
                       30          349-360     34           39         $125,569       $10,464
                       31          360-372     35           40         $127,139       $10,595
                       32          373-384     36           41         $128,728       $10,727
                       33          385-396     37           42         $130,337       $10,861
                       34          397-408     38           43         $131,986       $10,997
                       35         409-420      39           44        $133,618        $11,135
                       36         421-432      40           45        $135,286        $11,274
                       37         433-444      41           46        $136,977        $11,415
                       38         445-456      42           47        $721,562        $60,130
                       39         457-468      43           48        $150,939       $12,578
                       40         467-480      44           49        $152,826       $12,735
                       41         481-492      45           50        $154,736       $12,895
                       42         493-504      46           51        $156,670       $13,056
                      43          505-516      47          52         $158,629       $13,219
                      44          517-528      48          53         $160,611       $13,384
                      45          529-540      49          54         $162,619       $13,552
                      46          541-552      50          55         $164,652       $13,721
                      47          553-564      51          55         $166,710       $13,893
                      48          565-576      52          57         $168,794       $14,066
                      49          577-566      53          58         5170,934       $14,242
                      50              589-     54          59                        $14,242

               'Payments (including the initial lump sum and first monthly payment) shall
               commence the first day of the first month following approval of this schedule by
               the court. The scheduled monthly payment shall apply for twelve (12)
               consecutIve months accordIng to the schedule. Henceforth, after each twelve
               (12) consecutive monthly payments have been paid, the nexi twelve (12) months
               payment schedule shaft apply, so forth and so on. This schedule will continue
               until the date of the Plaintiff's (CL's) death or the depletion of the trust corpus,
               whichever occurs first. Aforementioned Initial lump sum and monthly payments
               shall me made payable to The CL Special Needs Trust directly in the absence
               of a court Order to the contrary.

               Reference:
               Plaintiff's Exhibits P-21 and P-22 by Dr. Thomas H. Mayor
               TABLE 2-A - LIFE CARE PLAN WITHOUT POTENTIAL CARE ITEMS -
               Note: Based on revised 7/22/09. Life Care Plan prepared by WillinghamIBagwell.




EXHIBIT A                                                                                             Page 12 of 13
                                            Directed Trusts
                                             Fee Schedule

Annual Fees
Annual Trustee Fee                                                  0.50% Up to $1,000,000
                                                                    0.40% $i,000,00i - $3,000,000
                                                                    0.25% Over $3,000,000

Minimum Annual Trustee Fee                                           $1,250

Trust Services Fees
Annual Statements                                                   No charge
TrustLink                                                           No charge
ACH (Direct Deposit)                                                No charge
Debit Card                                                          No charge
Tax Preparation Fee (i)                                             $250

Other Fees
Account Set-up                                                      $500  one-time at set-up
Trust Termination                                                   $500  one-time fee at termination
Wire Funds Transfer                                                 $30 USA/s65 Foreign per transfer
Extraordinary Special Services        (2)                           $5o/'/4 hour


Minimum initial Deposit                                             $100,000
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1.   Tax preparation fee would be waived if FCST is not preparing the return.
2.   Extraordinary Special Services includes real estate administration.

                   Trust Fees   May be TAX DEDUCT1BLE   Consult Your Tax Advisor                Effective Date: 06-07-10
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      NOTICE: THE BENEFICIARY AND CERTAIN PERSONS INTERESTED IN
      THE WELFARE OF THE BENEFICIARY MAY HAVE REMEDIES UNDER
      SECTION 114.008 OR 142.005 OF THE TEXAS PROPERTY CODE.



                                             EXHIBIT B
                                       TRUST AGREEMENT

                                              FOR THE

                                   C.L. SPECIAL NEEDS TRUST


       This Trust Agreement is established as recommended by Clarence Lee, Sr. and Angelia

Lee, as next friends   of C.L. (as defined herein), a minor and an incapacitated person as defined in
Section 142.007 of the Texas Property Code, to the Court in litigation pending in the United States

District Court for the Western District of Texas, San Antonio Division (the "Court"), in Civil

Action No. 5:08-CV-0053 1 -OLG styled, Clarence Lee, Sr and Angelia Lee, both individually

and as next friends of C.L., a minor, Plaintiff vs. United States of America, Defendant (the

"Lawsuit"). C.L. was born on May 13, 2003. C.L. is a minor and an incapacitated person as

defined in Section 142.007 of the Texas Property Code, and      Ci.   is a disabled person as defmed

in the Social Security Act, Section 161 4(a)(3), 42 United States Code Section 13 82C(a)(3). The

Court has specifically reviewed and approved this trust pursuant to the Decree of Court Establishing

the C.L. Special Needs Trust to which this Trust Agreement is attached. This Trust Agreement is

intended to comply with the requirements of a special needs trust pursuant to the provisions of

42 United States Code Section 13 96p(d)(4)(A), as amended August 10, 1993, by the Revenue

Reconciliation Act of 1993, Pub. L. 103-55, and shall be construed in accordance with such intent.

First Capital Surety & Trust Company (hereinafter referred to as the "Trustee"), a financial




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 institution (as defined by Section 201.101, Texas Finance Code), shall serve as the initial Trustee

 of this trust.

                                             ARTICLE     I.




                                             Trust Estate

        The assets and properties described on Schedule A, attached to and incorporated by
reference into this Trust Agreement, which are being paid pursuant to the judgment entered by the
Court in the Lawsuit, are hereby transferred and assigned unto the Trustee by the Court to be held,
invested, administered, and distributed by the Trustee for the benefit of the Beneficiary (as defined
herein) under the terms, provisions, conditions, and limitations set forth in this instrument. The
funds shall at no time become available to the Beneficiary, be placed in his possession, or come
within the control of his guardians, except as otherwise provided herein.

                                            ARTICLE     IL


                                             Irrevocable

       This trust shall be irrevocable and shall not be subject to revocation by the Beneficiary or a
guardian of the Beneficiary's estate.

                                            ARTICLE III.

                                    Identification of Beneficiary
        The beneficiary of this trust is Clarence Lee, Jr. (herein sometimes referred to as "C.L."
and/or the "Beneficiary").

                                           ARTICLE     IV.


                                   Distributions and Termination

        A.      Purpose of Trust. The principal purpose and intent of the Court and the parties
hereto is to provide a system for management, investment, and disbursement of the judgment
proceeds for the benefit of the Beneficiary The secondary intention of the Court and the parties
hereto is to provide for the continuing conservation and enhancement of the judgment proceeds
to supplement all other financial and service benefits to which the Beneficiary might be eligible
as a result of his disability from any local, county, state, or federal agency, or through any public
or private profit or nonprofit corporations or agencies.

               1.      It is not the intent of the Court or parties hereto to place the judgment
        proceeds in trust for the purpose of qualifying the Beneficiary for state welfare benefits.
        However, it is likely that the judgment proceeds will be insufficient to meet all of the
        Beneficiary's possible future disability related needs for the remainder of his life. Thus, it


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        is possible that such benefits may be sought in the future, notwithstanding the assets that
        have been directed by the Court to this supplemental and discretionary trust.

                2.     This trust is being established at the specific direction of the Court, and
       therefore the assets directed to this trust by the Court should not be deemed to have been
        or to be available to the Beneficiary. This trust is established under the jurisdiction, at the
        direction, and with the specific approval of the Court without transfer of ownership of the
       judgment proceeds to the Beneficiary or his legal guardians.

               3.     It is the intention of the Court and the parties hereto to provide benefits for
       the Beneficiary without interfering with or reducing the benefits he would be entitled to
       receive from any state or federal agency, including the State of Texas Health and Human
       Services Commission or its successor agencies and the United States Social Security
       Administration, and to maximize the benefits available to him. This trust is explicitly
       intended to be a discretionary trust and not a basic support trust, and the trust assets are
       intended to be used to supplement other benefits that the Beneficiary might be entitled to
       receive.

              4.       Further, it is not the intent of this Court that the judgment proceeds shall
       be used to excuse the obligations of any person to provide for the Beneficiary's
       continuing maintenance and basic support under the laws of the State of Texas. Payments
       from this trust are intended to be supplemental to such support obligations and shall not
       supplant the basic support obligations as determined by the laws of the State of Texas.

               5.      Notwithstanding the foregoing, it is acknowledged that the Trustee is
       neither licensed nor skilled in the field of social services and/or governmental assistance
       programs. The Beneficiary's legal guardian or other legal representative, if any, shall be
       responsible for identifying programs that may be of social, financial, developmental, or
       other assistance to the Beneficiary, including seeking the assistance of federal, state, and
       local agencies that have been established to help the handicapped or disabled, and other
       similar resources. The Trustee may cooperate with and assist the Beneficiary's legal
       guardians or other legal representative, if any, but shall have no duty or responsibility to
       determine which programs are available to the Beneficiary. The Trustee shall not in any
       event be liable to the Beneficiary or any other party with respect to any aspect of the
       Beneficiary's eligibility for federal, state, or local public assistance benefits or programs,
       including, but not limited to, the failure to identify each and every program or resource
       that might be available to the Beneficiary on account of any handicap or disability.

        B.     Distributions. The Trustee shall have complete discretion to pay or use so much or
all of the net income and/or corpus of the trust as the Trustee, in its sole discretion, may
determine, to the legal or natural guardian or person having custody of the Beneficiary, or by
expending such amounts directly to or for the benefit of the Beneficiary without the intervention
of any legal guardian or other legal representative of the Beneficiary. Any undistributed income
shall be accumulated and added to the corpus of the trust. All income and corpus distributed to
the Beneficiary and all undistributed income and corpus held in this trust shall be considered as


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 the separate property, not the community property, of the Beneficiary to the extent permitted
 under the Constitution and laws of the State of Texas.

                1.     In exercising the Trustee's discretion in making distributions from the net
        income and/or corpus of the trust, it is the intent, but not the direction, of this Court, that
       the Beneficiary live in pleasant, healthy, and comfortable surroundings and that the net
       income and/or corpus of the trust be paid out or used by the Trustee to whatever extent is
       appropriate to make available to the Beneficiary the best facilities and provisions for his
       health, education, and welfare that shall, in the sole discretion of the Trustee, be deemed
       reasonable, desirable, and appropriate. The express purpose of this trust is to provide for
       the Beneficiary's extra and supplemental needs, over and above the benefits he otherwise
       receives as a result of his handicap or disability from any local, state, or federal
       governmental source or from private agencies, any of which provide services or benefits
       to disabled persons. By way of illustration, the Trustee may purchase those goods or
       services which shall enhance the Beneficiary's development and welfare and provide for
       his special needs and/or supplemental needs, including but not limited to:

                       a.      Dental care;

                     b.      Unreimbursable medical expenses, including plastic and
              reconstructive surgery, diagnostic work and treatment, rehabilitative training and
              experimental medical services;

                       c.     Ophthalmic and auditory care;

                      d.      Psychological support services;

                      e.      Recreation, cultural experiences,        and transportation of the
              Beneficiary;

                      f.      Expenditures to foster the interests, talents and hobbies of the
              Beneficiary;

                     g.      Personal property and services which will make life more
              comfortable and enjoyable for the Beneficiary but will not defeat the
              Beneficiary's eligibility for public assistance;

                      h.      Funeral and burial costs;

                      i.      Personal care needs;

                     j.       Supplemental nursing care;

                      k.      Physical therapy or rehabilitation;




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                      I.      Similar care which other assistance programs may not otherwise
              provide;

                      m.       Entertainment items (such as a television, DVD player, MP3
              player, or the like);

                     n.      Evaluations of training and educational programs;

                    o.      Expenditures to engage therapists and others to provide physical,
             occupational, aquatic, or other therapy or procedures for the Beneficiary, either at
             the Beneficiary's home or at the therapist's (or other provider's) regular office or
             treatment center;

                     p.      Pay nutritionists, case workers, and other health or medical
             advisors; and

                    q.      Pay nurses, nurses' aides, companion sitters or others to care for
             the Beneficiary.

              2.     During periods of time that the Beneficiary is not eligible for and/or has
      not applied for means-tested governmental public assistance benefits (such as SSI,
      Medicaid, etc.), the Trustee shall have sole and absolute discretion as to the amount,
     timing, and purposes of any distributions from the net income and/or corpus of the trust
      for the benefit of the Beneficiary. On the other hand, during periods of time that the
     Beneficiary is receiving means-tested governmental public assistance benefits, the
     Trustee is specifically prohibited from expending any of the net income or corpus of the
     trust for any property, assistance, services, benefits, or medical care that is or otherwise
     would be available to the Beneficiary from any governmental source or from any
     insurance carrier required to cover the Beneficiary if, and only if, an application for such
     property, assistance, services, benefits, or medical care has been filed for the Beneficiary,
     or if he is receiving such assistance from a source that requires such restriction by its
     rules. In such case, and if the Beneficiary has applied for and/or is receiving assistance
     that requires such limitation, the Trustee may use trust property to supplement, but not to
     supplant, services, benefits, assistance, and medical care being received by the
     Beneficiary through any governmental resource so requiring the limitation.

              3.     It is recognized that there may be circumstances during the existence of
     this trust wherein it may be in the best interests of the Beneficiary to forfeit or forego the
     receipt of means-tested governmental public assistance benefits in order to avoid the
     restrictions on trust distributions and other requirements involved in the administration of
     a special needs trust. The responsibility for making this determination (as to whether it is
     in the Beneficiary's best interests to forfeit or forego means-tested governmental public
     assistance benefits for which the Beneficiary may be eligible) shall rest solely with the
     Beneficiary or the Beneficiary's legal guardian or other legal representative and not with
     the Trustee. The Trustee shall be entitled to rely upon written evidence that the



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        Beneficiary or the Beneficiary's legal guardian or other legal representative has complied
        with any notice requirements to the appropriate administrative agencies that the
        Beneficiary is ineligible for or voluntarily elects not to apply for and/or receive any
        means-tested governmental public benefits. The Trustee, in its sole discretion, shall
        determine the written documentation necessary to establish that the Beneficiary is not
        receiving any means-tested governmental public assistance benefits. Upon receipt of such
        written evidence satisfactory to the Trustee, the Trustee may administer the trust as a
        discretionary trust (and not as a special needs trust) until such time as (i) the Trustee
        receives written information that the Beneficiary (or the Beneficiary's legal guardian or
        other legal representative) has applied for or is receiving means-tested governmental
        public assistance benefits or (ii) the trust terminates.

                 4.       In determining distributions to or for the benefit of the Beneficiary, the
        Trustee may consider all of the facts and circumstances in existence at the time of the
        Trustee's determination, including but not limited to: (i) the value of the assets of the
        trust; (ii) the standard of living to which the Beneficiary shall have been accustomed prior
        to the creation of the trust; (iii) any known resources of the Beneficiary; (iv) the ability of
        any person who is legally obligated to support the Beneficiary to do so; and (v) the ability
        of the Beneficiary to earn funds for the Beneficiary's own support and maintenance.
               5.      The Trustee may pay any premiums, co-payments, and/or deductibles for
       health care insurance for the Beneficiary.

               6.      The Trustee shall be authorized to pay any income tax liability of the
       Beneficiary which results from income received by the trust. The funds used to pay this
       income tax liability shall be paid directly to the appropriate taxing authority and shall not
       be available to the Beneficiary or be counted as a disqualif'ing resource against the
       Beneficiary. The Beneficiary shall not have any right to or interest in any of these funds
       paid by the Trustee. Further, these funds are not a resource of the Beneficiary and should
       not be treated as a distribution of income for purposes of medical assistance qualification
       or continuation.

       C.      Termination of Trust. The trust shall terminate upon the death of the Beneficiary.
Upon termination of the trust, to the extent required by applicable law, the Trustee shall
distribute the remaining trust assets to the State of Texas or such other state that provides
Medicaid benefits to the Beneficiary up to an amount equal to the total medical assistance paid
on behalf of the Beneficiary under the Medicaid plan of each state that furnished medical
assistance on behalf of the Beneficiary. If assets remain in the trust after making the
reimbursement payments to the state's Medicaid plan in accordance with the preceding sentence,
the Trustee shall distribute the remaining trust assets to the personal representative of the
Beneficiary's estate to be administered as a part of the Beneficiary's general probate estate.




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                                           ARTICLE V.

                                              Trustee

     A.   Appointment. The initial Trustee of the trust shall be FIRST CAPITAL SURETY
& TRUST COMPANY.

        All references in this instrument to "Trustee" shall refer to the Trustee then serving as
such.

         B.      Successor Trustee. If at any time there is a vacancy in the position of Trustee, the
Court shall appoint a substitute or successor Trustee. A successor Trustee may be any financial
institution (as defined by Section 201.101, Texas Finance Code) that has trust powers arid exists
and does business under the laws of the State of Texas or another state in the United States.

        C.      Trustee Reorganization. Any corporation that shall succeed (by purchase, merger,
consolidation, or otherwise) to all or the greater part of the assets of any corporate Trustee shall
succeed to all the rights, duties, and powers of such corporate Trustee, as Trustee of this trust.

         D.      Resignation of Trustee. A Trustee may resign upon application to and order of the
Court. Upon filing an application to resign, the Trustee shall immediately provide a copy of the
application to the Beneficiary, or if the Beneficiary is a minor or incapacitated person, to the
Beneficiary's legal guardian or other legal representative. The Trustee shall continue serving
until its resignation is approved by the Court.

                                          ARTICLE VI.

                                     General Trust Provisions

        A.      Compensation. The Trustee shall be entitled to receive fair and reasonable
compensation for services as Trustee to be paid from the trust's income, corpus, or both on
application to and approval of the Court; provided, however, that the Trustee's compensation
shall not exceed the Trustee's regularly published fee schedule for such services (the Trustee's
current regularly published fee schedule is attached to this Trust Agreement as Schedule C). The
Court hereby prospectively approves the Trustee's fees for as long as such fees do not exceed the
Trustee's regularly published fee schedule; provided that the Court may review any future
Trustee's fees at any time and from time to time on the Court's own motion or upon the motion
of the Trustee or any other party interested in the welfare of the Beneficiary, and upon a hearing
of the matter, the Court shall take any action with respect to such fees as the Court may deem
appropriate. The Trustee shall also be reimbursed for all reasonable expenses incurred in
connection with the administration ofthe trust.

        B.    Bond. No bond or any other security shall be required of any Trustee.

       C.    Liabilities. This instrument shall always be construed in favor of the validity of
any act or omission of any Trustee, and a Trustee shall not be liable for any act or omission


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except in the case of negligence, bad faith, or fraud. This trust is established pursuant to Court
order, and the Trustee shall not be responsible or liable to the Beneficiary or to any other person
on account of any action that the Trustee may take (or elect to forego taking) in the Trustee's
good faith reliance on any order of the Court.

        D.      Accountings. The Trustee shall furnish an annual accounting to the Beneficiary or
the Beneficiary's legal guardian or other legal representative upon reasonable demand made
therefor. If and to the extent required by the Court or a successor Trustee, an accounting for the
administration of the trust shall also be given to the successor Trustee. A successor Trustee shall
be fully protected in relying upon such accounting and also in not requiring such an accounting
from its predecessor. Subject to any additional requirements imposed by the Court, the Trustee's
usual computer statements shall suffice for any accounting.

         E.      Spendthrift Provision. The Beneficiary shall not have the power to anticipate,
encumber, or transfer his interest in the income or corpus of this trust in any manner. No part of
the income or corpus of this trust shall be liable for or charged with any debts, contracts,
liabilities, or torts of the Beneficiary or subject to any divorce proceeding or seizure or other
process by any creditor of the Beneficiary.

        F.      Sims   of Trusts. This trust shall be deemed a Texas trust and shall be governed by
the laws of Texas.

        G.       Powers and Duties of Successor Trustee. Subject to any order of the Court, upon
the appointment and qualification of any successor Trustee, the same duties shall devolve on and
the same rights, powers, authorities, privileges, and discretions shall inure to the successor
Trustee as to the initial Trustee, and no successor Trustee shall have any duty, responsibility,
obligation, or liability whatsoever for the acts, defaults, or omissions of any predecessor Trustee.

        H.     Fiduciary Obligation. The broad powers herein conferred upon the Trustee shall
always be exercised only in a fiduciary capacity, and nothing herein shall be construed to limit
the fiduciary obligation of the Trustee.

                                           ARTICLE VII.

                                         Powers of Trustee

        The Trustee shall have all of the rights, powers, and privileges granted to a trustee by the
Texas Trust Code and all of the following rights, powers, and privileges, unless specifically
limited by other provisions of this instrument:

        A.       Partitions, Distributions. The Trustee shall have full power and authority to make
all partitions, divisions, and distributions under this instrument, by allocating assets and property
proportionately in kind or by allocating undivided interests therein in kind. Any partition,
division, or distribution made by the Trustee in good faith shall be binding and conclusive on all
interested parties.



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      B.       Methods of Payment. Any distribution directed to be made to the Beneficiary may
be made to or for the benefit of the beneficiary in any manner authorized by Texas Property Code
Section 142.005 that the Trustee deems advisable, including payment to the legal or natural
guardian or person having custody of the Beneficiary, or payment directly to the Beneficiary or
for the benefit, support, or maintenance of the Beneficiary without the intervention of any legal
guardian or other legal representative of the Beneficiary. Any distribution under this paragraph
shall be a full discharge of the Trustee with respect to that distribution.

       C.      Conservation of Trust Properties. The Trustee may hold, manage and conserve
any and all properties transferred to the trust and may take any action that the Trustee may deem
necessary or appropriate, including the exercise of all rights and powers that a prudent owner
would exercise in managing and conserving properties of a like kind.

        D.      Dealings With Third Parties. The Trustee may deal with any person or entity
regardless of any relationship or identity of any Trustee to or with that person or entity and may
hold or invest all or any part of the trust assets in common or undivided interests with that person
or entity. Sections 113.052 through 113.055 of the Texas Trust Code shall not apply to the trust
except to the extent they cannot be waived.

       B.       Investment in Securities. The Trustee may buy, sell, or trade any security of any
nature (including common trust funds, stocks, stock rights, warrants, bonds, debentures, notes,
certificates of interest, certificates of indebtedness, and options) or any other things of value
issued by any person, firm, association, trust, corporation, or body politic whatsoever.

       F.       Distributions to Purchase a Vehicle. The Trustee may, within its sole discretion, at
any time and from time to time, make distributions from the net income and/or principal of the
Trust for the purpose of purchasing or otherwise acquiring a vehicle suitable for the
transportation of the Beneficiary and the legal or natural guardian or person having custody of
the Beneficiary. The Trustee may, within its sole discretion, make distributions from the income
and/or principal of the Trust for the purpose of replacing any such vehicle with a comparable
vehicle at any time and from time to time, but the cost of any replacement vehicle shall be
reduced by the trade-in value of the previous vehicle. The vehicle shall be registered and titled
either in the name of the Beneficiary or in the name of a parent or legal guardian of the
Beneficiary. The Trustee may pay all expenses of repairs, routine maintenance, personal
property taxes, and insurance on the vehicle from the net income and/or principal of the Trust;
provided, that, such payments will not jeopardize the Beneficiary's eligibility for Medicaid, SSI,
or any other welfare and/or governmental benefits in which the best interests of the Beneficiary
should be maintained and preserved.

       G.       Investment in Undivided Interests. The Trustee may invest in one or more assets,
properties, or consolidated funds, in whole or in part, as the Trustee may deem advisable.

        H.      Investment in Partnerships. The Trustee may purchase or otherwise acquire an
interest in any partnership conducting a lawful business, transfer trust property to any partnership




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which will conduct or is conducting any lawful business, or become either a general or limited
partner of any such partnership.

        I.      Selection and Retention of Investments. Any property acquired by the Trustee and
at any time constituting any part of the trust shall be deemed a proper investment, and the Trustee
shall be under no obligation to dispose of or convert such property. Investments need not be
diversified, may be of a wasting nature, and may be made or retained with a view to possible
increase in value. The Trustee may invest all funds available for investment at any time that the
Trustee may deem advisable in such investments as the Trustee may be permitted to make
pursuant to the terms of this instrument. The Trustee, unless otherwise herein specifically
prohibited, shall have as wide a latitude in the selection, retention and making of investments as
an individual would have in retaining or investing his or her own funds and shall not be limited
to nor bound or governed by any statute or regulation respecting investments.

        J.      Holding Title to Investments. The Trustee may hold title to investments in the
name of the Trustee or a nominee. If the trust owns assets located in a jurisdiction in which the
Trustee cannot be authorized to act, then the Trustee may appoint any national bank authorized to
act in such jurisdiction as trustee of such assets and confer on such trustee any power as may be
necessary in the premises, but, in any event, such trustee shall account for all net income and/or
net proceeds from the sale of such assets to the Trustee acting hereunder.

       K.       General Powers. The Trustee may sell, exchange, alter, mortgage, pledge, or
otherwise dispose of trust property; borrow any sum believed by the Trustee to be necessary or
desirable for protecting the trust or any part thereof, making any income or corpus payment or
distribution, or for any other purpose which in the Trustee's opinion may be appropriate; pay all
reasonable expenses; execute obligations, negotiable and nonnegotiable; join in, by deposit,
pledge, or otherwise, any plan of reorganization or readjustment of any investments of the trust,
and vest in a protective committee or other legal entity such power as in the Trustee's opinion
may be desirable; and sell for cash andlor credit all or any part of the trust estate.

        L.     Power to Vote Stock. The Trustee may vote shares of stock in person or by proxy,
with or without power of substitution; exercise and perform any and all rights, privileges, and
powers inuring to the holder of any stock or security comprising at any time a part of the trust,
and exercise by agent or attorney-in-fact any right appurtenant to any property or matter in which
the trust may be interested.

         M.      Protection of the Trust Estate. The Trustee may protect, perfect and defend the
title to any trust property; sue and be sued; enforce any bonds, mortgages or other obligations or
liens owned by the trust; compromise, arbitrate, or otherwise adjust claims in favor of or against
the trust; waive or release rights of any kind; and abandon any property considered by the
Trustee to be worthless.

        N.      Notes, Mortgages, and Foreclosures. The Trustee may, at any time, reduce the rate
of interest payable on any bond, note, or other security owned by the trust; continue mortgages
upon and after maturity, with or without renewal, or extend the same upon such terms as seem


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advisable to the Trustee without reference to the value of the security at the time of such
continuance; modify or release any guaranty or mortgage; as an incident to collection of any
bond or note, foreclose and bid in the property at foreclosure sale, acquire the property by deed
from the mortgagor or obligor without foreclosure and retain the property so bid in or taken over
without foreclosure.

       0.      Insurance. The Trustee may carry such insurance coverage (in stock companies or
in mutual companies), including public liability, property damage, and life insurance, for such
hazards and in such amounts as the Trustee may deem advisable.

        P.     Employ and Compensate Agents and Representatives. The Trustee may employ
and compensate agents and other employees, including attorneys, accountants, and investment
advisers, and may delegate to them any and all discretions and powers. The Trustee shall not be
liable for any act or omission of an agent if the agent was selected and retained by the Trustee
with due care and the Trustee neither knew nor should have known that the agent or
representative was breaching his or her duties.

       Q.       Establish and Maintain Reserves. Out of rents, profits, or other income received,
the Trustee may set up reserves for taxes, assessments, insurance premiums, repairs,
improvements, depletion, depreciation, obsolescence, and general maintenance of buildings or
other property.

       R.      Power to Determine Income and Corpus. Stock dividends and capital gains shall
be treated as corpus. Except as herein otherwise specifically provided, the Trustee shall
determine the manner in which expenses are to be borne and receipts credited between corpus
and income and what shall constitute income, net income, and corpus. In determining such
matters, the Trustee may give consideration to, but shall not be bound by, the provisions of the
Texas Trust Code.

        S.     Liability of Third Party. No purchaser at any sale made by the Trustee or person
dealing with the Trustee is obliged to see to the application of any money or property paid or
delivered to the Trustee or to inquire into the expediency or propriety of, or the authority of the
Trustee to enter into and consummate, any transaction.

       T.      Documents. The Trustee may execute and deliver any deeds, conveyances,
assignments, leases, contracts, stock or security transfer powers, or any other written instrument
of any character appropriate to any of the powers or duties herein conferred upon the Trustee.

        U.      Powers Cumulative. Except as herein otherwise provided, the powers conferred
upon the Trustee shall not be construed as a limitation of any authority conferred by law, but as
in addition thereto.




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                                          ARTICLE VIII.

                                Definitions and General Provisions

       A.     Statutory References. All statutory references include subsequent amendments
and corresponding provisions of any subsequently enacted laws.

        B.     Precedence of Trust. This trust shall take precedence over any existing law or
statute concerning minors, incapacitated persons, or their property, and this trust shall continue in
full force and effect until terminated or revoked as provided herein, notwithstanding the
appointment of a guardian of the estate of the Beneficiary, or the attainment of the age of
majority by the Beneficiary.

        C.     Binding Effect. This trust agreement shall extend to and be binding upon the
heirs, executors, administrators, legal representatives, and successors of the parties.

         D.    Consideration of Requests of the Beneficiary or Legal Guardian. The Trustee shall
confer with the Beneficiary, or the Beneficiary's legal guardian or other legal representative if
the Beneficiary is a minor or incapacitated person, from time to time concerning the needs of the
Beneficiary and shall consider (but shall not be bound by) the requests of the Beneficiary or the
Beneficiary's legal guardian or other legal representative, as the case may be, concerning the
administration of the trust, including, but not limited to, the investment and distribution of the
trust assets.

       E.     Inception of Trust. This trust shall become effective upon (1) the entry of the
decree to which this trust agreement is attached, (2) the transfer of any portion of the property
described on Schedule A to the Trustee, and (3) the Trustee's acceptance of the trust which shall
be evidenced by the signature below of the appropriate officer of the Trustee.

       SIGNED this          day of              ie...




                                             JUDGE PRESIDING




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       First Capital Surety & Trust Company, Trustee, accepts the trust created by this Trust

Agreement, and covenants to faithfully discharge all duties of the Trustee hereunder.

                                              FIRST CAPITAL SURETY & TRUST COMPANY


                                              By:
                                              Name: Chris Foregger
                                              Title: Trust Officer




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STATE OF WISCONSIN                 §
                                   §
COUNTY OF MILWAUKEE                §

        BEFORE ME, the undersigned authority; on this day personally appeared CHRIS
FOREGGER, known to me to be the person and officer whose name is subscribed to the foregoing
instrument and acknowledged to me that the same was the act of the said FIRST CAPITAL
SURETY & TRUST COMPANY, and that he executed the same as the act of FIRST CAPITAL
SURETY & TRUST COMPANY for the purposes and consideration therein expressed and in the
capacity therein stated.

       GWEN UNDER MY HAND AND SEAL OF OFFICE this                                      day of
                .2014.



                                          Notary Public in and for the State of Wisconsin

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                                       SCHEDULE A

                                          TO THE

                              C.L. SPECIAL NEEDS TRUST


Initial Assets:   Cash in the amount of $ $1,014,201.21         plus future periodic payments
                  payable in accordance with the schedule set forth on Schedule B, attached
                  to and incorporated by reference into this Trust Agreement, within the
                  meaning of Sections 104(a)(2) of the Internal Revenue Code of 1986, as
                  amended.




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                                                     Schedule B

                Payment Payment                                Annual      Monthly
                Year'    Months'          YEAR          AGE Payment     Payment'
                                            (1)          (2)        (3)        (4)
                                                1          6   $81,753
                                                2          7   $82,775
                                                3          8   $83,810
                                                4          8   $84,857
                         1       1-12           5         10   $87,130     $7,261
                        2   13-24               6         11   $88,219     $7,352
                        3   25-36               7         12   $93097      $7,758
                        4   37-48               8         13   $94,260     $7,855
                        5   49-60               9         14   595,439     $7,953
                        6   61.72              10         15   $96,632     $8,053
                        7   73-84              11         16   $97,840     $8,153
                        8   85-96              12         17   $99,083     $8,255
                        9  97-108              13         18   598,505     $8,209
                       10 109-120              14        19    $99,736     $8,311
                       II 121-132              15        20   $100,983     $8,415
                       12 133-144              16        21    $99,227     $8,269
                       13 145-156              17         22    $100,468        $8,372
                       14 157-168              18         23    $101,724        $8,477
                       15 169-180              19         24    $102,995        $8,583
                       16 181-192             20          25    $102,823        $8,569
                       17 193-204             21          26    $104,108        $8,676
                       18 205-216             22          27    $563,094       $46,925
                       19 217-228             23          28    $109,531        $9,128
                       20 229-240             24          29    $110,900        $9,242
                       21 241-252             25          30    $112,286        $9,357
                       22 253-264             26          31    $113,590        $9,474
                       23 265-276             27          32    $115,111        $9,593
                       24 277-288             28          33    $116,550        $9,713
                       25 289-300             29          34    $118,007        $9,834
                       26 301-312             30          35    $119,482        $9,957
                       27 313-324             31          36    $120,976       $10,081
                       28 325-336             32          37    $122,488       $10,207
                       29 337-348              33         38    $124,019       $10,335
                       30 349-360             34          39    $125,569      $10,464
                       31 360.372             35          40    $127,139      $10,595
                       32 373-384             36          41    $128,728      $10,727
                       33 385-396             37          42    $130,337      $10,861
                       34 397-408             38          43    $131,966      $10,997
                       35 409-420             39          44    $133,616      $11,135
                       36 421-432             40          45    $135,286      $11,274
                       37 433-444             41          46    $136,977      $11,415
                       38 445-456             42          47    $721,562      $60,130
                       39 457-468             43          48    $150,939      $12,578
                       40 467-480             44          49    $152,826      $12,735
                       41 481-492             45          50    $154,736      $12,895
                       42 493-504             46          51    $156,670      $13,056
                       43 505-516             47          52    $158,629      $13,219
                       44 517-528             48          53    $160,611      $13,384
                       45 529-540             49          54    $162,619      $13,552
                       48 541-552             50          55    $164,652      $13,721
                       47 553-564             51          56    $166,710      $13,893
                       48 565-576             52          57    $168,794      $14,066
                       49 577-588             53          58    $170,904      $14,242
                       50    589-             54          59                  $14,242


                 Payments (including the initial lump sum and first monthly payment) shall
                commence the first day of the first month following approval of this schedule by
                the court. The scheduled monthly payment shall apply for twelve (12)
                consecutive months according to the schedule. Henceforth, after each twelve
                (12) consecutive monthly payments have been paid, the next twelve (12) months
                payment schedule shall apply, so forth and so on. This schedule will continue
                until the date of the Plaintiff's (CL's) death or the depletion of the trust corpus,
                whichever occurs first. Aforementioned initial lump sum and monthly payments
                shall me made payable to The CL. Special Needs Trust directly in the absence
                of a court order to the contrary.

                Reference:
                Plelntlffs Exhibits P-21 and P-22 by Dr. Thomas H. Mayor
                TABLE 2-A - LIFE CARE PLAN WITHOUT POTENTIAL CARE ITEMS -
                Note: Based on revised 7122/09, Life Care Plan prepared by WillinghamlBagwell.




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                                                Directed Trusts
                                                   Fee Schedule

      Annual Fees
      Annual Trustee Fee                                                 0.50% Up to $1,000,000
                                                                         0.40% $1,000,001 - $3,000,000
                                                                         0.25% Over $3,000,000


      Minimum Annual Trustee Fee                                         $1,250


      Trust Services Fees
      Annual Statements                                                  No     charge
      TrustLink 1?1                                                      No     charge                                            C-)

      ACH (Direct Deposit)                                               No     charge
      Debit Card                                                         No     charge
      Tax Preparation Fee (i)                                            $250

      Other Fees
      Account Set-up                                                      $500    one-time at set-up
      Trust Termination                                                   $500 one-time fee at termination
      Wire Funds Transftr                                                 $30 USA/ $6 Foreign per transfer
      Extraordinary Special Services         (2)                          $5oJ/4    hour

      Minimum Initial Deposit                                             $100,000
                                                                                                                                        Case 5:08-cv-00531-OLG Document 151 Filed 06/01/15 Page 36 of 36




-.1
      1.   Tax preparation fee would be waived if FCST is not preparing the return.
a
      2    Extraordinary Special Services includes real estate administration.
1
                         Trust Fees May be   TAX DEDUCTIBLE; Consult Your Tax   Advisor                Effective Date: 06-07-10
